                          UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF NORTH CAROLINA

NORTH CAROLINA STATE
CONFERENCE OF THE NAACP; et al.,

                          Plaintiffs,             CASE NO. 1:18-cv-1034
       v.

ALAN HIRSCH, in his official capacity as
Chair of the North Carolina State Board of
Elections; et al.,
                             Defendants,
and
PHILIP E. BERGER, in his official
capacity as President Pro Tempore of
the North Carolina Senate; and
DESTIN C. HALL, in his official
capacity as Speaker of the North
Carolina House of Representatives,
      Legislative Defendant Intervenors.


               LEGISLATIVE DEFENDANTS’ NOTICE OF SUBSTITUTION

            Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Intervenors hereby

   provide notice that Timothy K. Moore has ceased to hold the office of Speaker of the North

   Carolina House of Representatives and that Destin C. Hall is the successor to that office.

   Intervenors accordingly request that further proceedings should be in Destin C. Hall’s name

   as the automatically substituted party.




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Dated: January 8, 2025

/s/ Nicole J. Moss                         /s/ David H. Thompson
Nicole J. Moss (State Bar No. 31958)       David H. Thompson
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                                           Counsel for Legislative
                                           Defendants




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                             CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that, on January 8, 2025, I electronically

filed the foregoing Notice with the Clerk of the Court using the CM/ECF system which

will send notification of such to all counsel of record in this matter.

                                                          /s/ Nicole J. Moss
                                                          Nicole J. Moss
                                                          Counsel for Legislative
                                                          Defendants




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